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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                 8:14CR255
                                              )
       vs.                                    )                  ORDER
                                              )
AMBER HUGHES,                                 )
                                              )
                     Defendant.               )

       This matter is before the court on the motion of defendant Amber Hughes (Hughes)
for a substance abuse screening (Filing No. 28). The motion is granted. Pretrial Services
shall arrange for a substance abuse evaluation and screening for placement in a suitable
rehabilitation program.


       IT IS SO ORDERED.


       DATED this 19th day of August, 2014.


                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
